64 F.3d 658
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Theron Johnny MAXTON, Plaintiff-Appellant,v.A. ASKIN, Nurse at Kirkland Correctional Institution;  Mr.Floyd, Nurse, Kirkland Correctional Institution;  DoctorPrashad, Kirkland Correctional Institution;  South CarolinaDepartment of Corrections, Defendants-Appellees.
    No. 95-6452.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 27, 1995.Decided:  Aug. 17, 1995.
    
      Theron Johnny Maxton, Appellant Pro Se.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the magistrate judge's recommendation to dismiss his 42 U.S.C. Sec. 1983 (1988) complaint.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. Sec. 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Appellant that failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant failed to object to the magistrate judge's recommendation.  Instead, he appealed.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.  Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985).  See generally Thomas v. Arn, 474 U.S. 140 (1985).  Appellant failed to file objections after receiving proper notice.  Further, the appeal was filed from the magistrate judge's report and recommendation, which is not an appealable order.  28 U.S.C. Secs. 1291, 1292 (1988).  Accordingly, we dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    